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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

Sharyl Thompson Attkinsson, et al.          *

       Plaintiff,                           *

v.                                          *      Civil Action No. RDB-20-068

Rod Rosenstein, et al.                      *

       Defendants.                          *

*      *       *         *       *     *  *   *    *              *        *     *      *
                                     MEMORANDUM ORDER

       Presently pending before this Court is the Motion of the Pro Se Defendant Ryan White to
Dismiss the original Complaint (ECF#8). Since that pro se filing an Amended Complaint has
been filed against all Defendants (ECF#15). A Motion to Dismiss has subsequently been filed on
behalf of the Co-Defendants Rosenstein and Henry by their counsel from the United States
Department of Justice (ECF#17). The responsive briefing on that motion has recently been
completed. The Pro Se Defendant White has not been accorded the opportunity to reference that
briefing on the Amended Complaint.
       Accordingly, IT IS HEREBY ORDERED this 29th day of September 2020 that the
Motion to Dismiss of the Defendant White (ECF#8) is now MOOT and DENIED WITHOUT
PREJUDICE to his re-filing a Motion to Dismiss the Amended Complaint which may reference
and adopt any portions of the still pending Motion to Dismiss of the Defendants Rosenstein and
Henry (ECF#17).
       IT IS FURTHER HEREBY ORDERED that the Pro Se Defendant White shall have 30
days from the date of this Memorandum Order to re-file a Motion to Dismiss or file any other
responsive pleading.


                                                   /s/
                                            Richard D. Bennett
                                            United States District Judge
